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2. PERSON REPRESENTED
TNW Case~

 

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6/05 Page 1 of 2 Page|D 21

 

 

3. MAG. DKT.."DEF`. Nl?\'lliER 4. DlST. DKT./DEF. NUMBER

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.‘t. APPEAI.S DK'I`JDEF. NUMBER 6. OTHER DKT. NUMBER

 

7. lN CASE!MA'!"[`ER OF tCase Name) 8. FAYMENT CATEGORY

 

9. TYPE PERSON REPRESEN'[`ED 10. REPRESENT;TION TYPE

(See Instructmns)

 

 

 

 

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LARSON. A. RUSSELL
LAW FiRi\/l
P.O. BOX 2163
JACKSON TN 33302

TE|t.‘phttrte \`tttnhet': __________
14. NAME +\Ni] M.-\il.l\(.` t\i)l)REFiS ()F L.‘\W FlRi\'l(nnly provide per inslt'ttt:tiuns)
A. RUSSF:[“]. l,é\RSON LAW FIRM
P.O. BOX 2163
JACKSON Ti\' 33302

 

 

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34. SEGNA'I`_URE OF LIHIEF JUDGE, COURT OF APPEALS iOR DELECA'I`E} Pnyment D‘\TE 34;1. JUDGE C()DE
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This notice confirms a copy of the document docketed as number 22 in
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US DISTRICT COURT

